Case 1:14-cv-22349-AOR Document 34 Entered on FLSD Docket 02/13/2015 Page 1 of 13




                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.: 1:14-cv-22349-UU

  JOSE CUNI and HECTOR DOMINGUEZ,

                    Plaintiffs,
  v.

  AMERICAN SALES AND MANAGEMENT
  ORGANIZATION, LLC, a Florida limited liability
  company, and LIVAN ACOSTA, individually,

              Defendants.
  ____________________________________________/

       DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE REFERENCES TO AND
        EVIDENCE OF SPECIFIC IRRELEVANT AND PREJUDICIAL MATTERS

         COME NOW, the Defendants, American Sales and Management Organization, LLC

  (“American Sales”) and Livan Acosta (“Acosta”) (collectively “Defendants”), by and through

  the undersigned counsel, and hereby move this Court for an Order in Limine precluding the

  Plaintiffs from referring to or offering any documentary evidence, testimony, or argument of

  counsel concerning the following topics:

         1.         “Me too” Evidence;

         2.         Alleged Emotional Distress;

         3.         Defendants’ financial data and any statements relating to Defendants financial

                    wherewithal or size;

         4.         Opinions by lay witnesses;

         5.         Pre-trial Proceedings; and

         6.         Specific Irrelevant and Prejudicial Comments.




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Case 1:14-cv-22349-AOR Document 34 Entered on FLSD Docket 02/13/2015 Page 2 of 13

                                                                                                Case No. 1:14-cv-22349-UU

         Such evidence should be excluded because it is (1) irrelevant under Federal Rule of

  Evidence 401; (2) inadmissible under Federal Rule of Evidence 402; and (3) highly prejudicial

  under Federal Rule of Evidence 403. Accordingly, the Defendants respectfully request that this

  Court enter an Order precluding Plaintiff, Plaintiffs’ Counsel, and all of Plaintiffs’ witnesses, as

  well as their counsel, and all of their witnesses, from referring to or commenting upon the above-

  listed topics, and from introducing any such evidence by way of documents or testimony without

  first obtaining leave of Court outside the presence and hearing of the jury. The Defendants

  further request that this Court order Plaintiffs to so inform their respective witnesses and to

  strictly follow the Court’s instruction.

                                                         ARGUMENT

         Evidence relating to the topics listed above is inadmissible because it is not relevant. The

  standard of relevancy is set forth in Federal Rules of Evidence 401, which defines relevant

  evidence as “having any tendency to make the existence of any fact that is of consequence to the

  determination of the action more probable or less probable than it would be without the

  evidence.” Implicit in the definition of relevance are two distinct requirements: (1) the evidence

  must be probative of the proposition it is offered to prove, and (2) the proposition to be proved

  must be one that is of consequence to the determination of the action. U.S. v. Hall, 653 F.2d

  1002 (5th Cir. Unit B 1981). Similarly, the Advisory Committee’s Notes to Federal Rule 401

  emphasize that “[r]elevancy is not an inherent characteristic of any item of evidence but exists

  only as a relation between an item of evidence and a matter properly provable in the case.” As

  set forth in greater detail below, the above listed topics are irrelevant to matters at issue in this

  case and, therefore, should be excluded from evidence.


                                                                -2-
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Case 1:14-cv-22349-AOR Document 34 Entered on FLSD Docket 02/13/2015 Page 3 of 13

                                                                                                Case No. 1:14-cv-22349-UU

         Even if evidence may be characterized as relevant, the evidence may still be inadmissible

  under Rule 403 of the Federal Rules of Evidence. Federal Rule of Evidence 403 authorizes a

  trial judge to exclude relevant evidence on a finding that it is prejudicial. Rule 403 specifically

  provides that “[a]lthough relevant, evidence may be excluded if its probative value is

  substantially outweighed by the danger of unfair prejudice, confusion of the issues, or misleading

  the jury, or considerations of undue delay, waste of time, or needless presentation of cumulative

  evidence.” Fed. R. Evid. 403. Courts have clearly established that “[o]nce it is determined that

  evidence has probative value but creates a danger of unfair prejudice, the trial judge must find

  that the danger of unfair prejudice substantially outweighs the probative value of the evidence

  before its exclusion will be warranted under Rule 403.” Crawford v. Edmondson, 764 F.2d 479,

  484 (7th Cir. 1985). In other words, unfair prejudice occurs when the evidence has the capacity

  of luring the factfinder into reaching a decision on a ground different from the proof specific to

  the claim asserted. See, Old Chief v. U.S., 519 U.S. 172, 180, 117 S. Ct. 644 (1997); Cook v.

  Hoppin, 783 F.2d 684, 688 (7th Cir. 1986) (evidence is unfairly prejudicial if it induces a jury to

  decide a case on an improper basis, rather than on the evidence presented); Walker v.

  NationsBank of Fla., N.A., 53 F.3d 1548, 1554-55 (11th Cir. 1995) (affirming exclusion of

  evidence under Rule 403 where evidence would shift jury's focus away from ultimate issue in

  case). Furthermore, “exclusion of evidence under Rule 403 is also important to avoid significant

  litigation on issues that are collateral to those required to be tried.” Sims v. Mulcahy, 902 F.2d

  524, 531 (7th Cir. 1990).

         The assessment of the probative value of proffered evidence and weighing any factors

  counseling against admissibility, such as danger of unfair prejudice, is a matter first for the


                                                                -3-
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Case 1:14-cv-22349-AOR Document 34 Entered on FLSD Docket 02/13/2015 Page 4 of 13

                                                                                                  Case No. 1:14-cv-22349-UU

  district court's sound judgment. Sprint/United Management Co. v. Mendelsohn, U.S.2008, 128 S.

  Ct. 1140, 170 L.Ed.2d 1. Furthermore, as the Eleventh Circuit made clear in United States v.

  Tinoco, 304 F.3d 1088, 1120 (11th Cir. 2002), among other decisions, the Court has broad

  discretion to determine whether evidence is relevant and/or admissible or could lead to the

  discovery of admissible evidence. See also, e.g., In re Ford Motor Co., 345 F.3d 1315, 1316

  (11th Cir. 2003).

         1.         “Met too” Evidence: The Defendants anticipate that Plaintiffs may attempt to

  introduce evidence of Defendants’ alleged failure to pay other employees overtime wages. Such

  evidence is inadmissible.

         As an initial matter, the Eleventh Circuit has recognized that evidence of an employer's

  conduct towards another employee is not relevant to an individual claim of a violation of the fair

  employment statutes. Anderson v. WBMG-42, 253 F.3d 561 (11th Cir. 2001). The court

  explained that the probative value of such testimony would result in substantial prejudicial effect,

  and generate a “mini-trial” on collateral issues not related to the claim at issue. Id. Accordingly,

  such evidence is inadmissible. See also, McWhorter v. City of Birmingham, 906 F.2d 674 (11th

  Cir. 1990); Brooks v. Scheib, 813 F.2d 1191 (11th Cir. 1987).

         Additionally, evidence of other alleged incidents of alleged violations of the FLSA is

  inadmissible “propensity” evidence under Federal Rule of Evidence 404(b). Said Rule provides

  that “evidence relating to a person's character or a trait of character is not admissible for the

  purpose of proving action in conformity therewith on a particular occasion. . . .” The Rule further

  provides that “evidence of other crimes, wrongs or acts is not admissible to prove the character

  of a person in order to show action in conformity therewith.” With limited exceptions, such


                                                                  -4-
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Case 1:14-cv-22349-AOR Document 34 Entered on FLSD Docket 02/13/2015 Page 5 of 13

                                                                                                Case No. 1:14-cv-22349-UU

  evidence is excluded because it tends to distract the trier of fact from the main question of what

  actually happened on a particular occasion, and “permits the trier of fact to reward the good man

  and “to punish the bad man . . . despite what the evidence in the case shows actually happened.”

  (Advisory Committee Notes, on proposed rules, Fed. R. Evid. 404). In the present case, Plaintiffs

  may seek to introduce evidence concerning alleged violations of the FLSA concerning

  individuals other than the Plaintiffs, and a generalized “perception” of FLSA violations, in an

  attempt to show that Defendants treated the Plaintiff in conformity with the alleged treatment of

  such other individuals. Such evidence, if admitted, would be for a purpose deemed improper

  under both Rule 404(a) and 404(b); moreover, it would unfairly prejudice Defendants.

         Further, evidence of other alleged incidents of FLSA violations are inadmissible under

  Federal Rule of Evidence 403. Any other instances of alleged FLSA violations, which involve

  persons other than the Plaintiffs, are clearly not admissible at the trial of this matter. Such

  evidence is not relevant to any of the issues before the Court. Even if same were relevant, such

  evidence would still be inadmissible under Federal Rule of Evidence 403, which provides:

  “Although relevant, evidence may be excluded if its probative value is substantially outweighed

  by the danger of unfair prejudice, confusion of the issues, or misleading the jury, or

  considerations of undue delay, waste of time, or needless presentation of cumulative evidence.”

  In the case at bar, the probative value of the evidence regarding other alleged incidents of FLSA

  violations would be greatly outweighed by its unfair prejudicial effect. Moreover, the admission

  of such evidence would only serve to confuse the issues, mislead the jury, and create undue

  delay, and would have the substantial possibility of resulting in a verdict adverse to Defendants

  based solely on alleged acts that are not before the Court.


                                                                -5-
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Case 1:14-cv-22349-AOR Document 34 Entered on FLSD Docket 02/13/2015 Page 6 of 13

                                                                                                Case No. 1:14-cv-22349-UU




                  A.         Undue Prejudice

         The probative value of evidence regarding other alleged incidents of FLSA violations,

  even if of the type alleged by Plaintiffs, is greatly outweighed by the danger of unfair prejudice

  and therefore is inadmissible. See, generally, Eudy v. BWD Automotive Corp., 51 Fair Empl.

  Prac. Case (BNA) 724, 726 (N.D. Ga. 1989) (granting defendant's motion in limine excluding

  testimony relating to the termination and demotions of other employees, and ruling that“[t]he

  probative value of evidence of alleged incidents of discrimination against other employees would

  not outweigh the danger of unfair prejudice and confusion of the jury.”) In the case at bar, the

  slight probative value of evidence regarding other alleged incidents of FLSA violations is

  substantially outweighed by its unfair prejudicial effect.

                  B.         Confusion of the Issues

         The central issue in this case is whether the Plaintiffs were subjected to FLSA violations.

  The focus of this case should not be on what Defendants may or may not have done to persons

  other than the Plaintiffs. To allow such evidence will only direct the jury's attention away from

  the central issues in this case, that is, whether Plaintiffs’ FLSA rights were violated toward a

  totally irrelevant issue, that is, whether co-workers--who are non-parties--were subjected to

  FLSA violations or whether they had a “belief” that their rights under the FLSA were violated by

  the Defendants.

                  C.         Undue Delay and Waste of Time

         Evidence regarding other alleged incidents of FLSA violations brought by non-parties

  should also be excluded because such evidence will create several mini-trials. Indeed, calling


                                                                -6-
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Case 1:14-cv-22349-AOR Document 34 Entered on FLSD Docket 02/13/2015 Page 7 of 13

                                                                                                    Case No. 1:14-cv-22349-UU

  non-party individuals as witnesses would involve the trial of numerous collateral issues

  concerning the circumstances surrounding those witnesses' experiences, not the Plaintiffs’. This

  can only distract the jury's attention away from the main issues of the case. See, e.g., McWhorter

  v. City of Birmingham, 906 F.2d 674 (11th Cir. 1990); Anderson v. WPMG-42, 253 F.3d 561

  (11th Cir. 2001); Shamley v. ITT Corp., 44 Fair Empl. Prac. Case (BNA) 1238, 1240 (S.D.N.Y.

  1987).        Moreover, to allow evidence regarding other alleged incidents of alleged FLSA

  violations would greatly increase the length of the trial. Defendants will inevitably have to call

  additional witnesses. Further, numerous exhibits, including personnel documents, job

  applications, and job descriptions will have to be admitted into evidence.

           2.         Evidence of Alleged Emotional Distress:                                The Defendants anticipate that

  Plaintiffs may attempt to introduce evidence of their alleged emotional distress. Such evidence

  is inadmissible. The FLSA provides a remedy for an employer’s failure to pay overtime wages

  equal to up to double the shortfall of wages. The FLSA does not, however, provide for other

  damages. In 1977, Congress amended the FLSA to establish civil liability of an employer who

  fails to pay employees the minimum wages or overtime pay as mandated by the FLSA. 29

  U.S.C. § 216(b). Section 216(b) of the FLSA provides that “Any employer who violates the

  provisions of [the FLSA] ... shall be liable to the ... employees affected in the amount of their ...

  unpaid overtime compensation ... and in an additional equal amount as liquidated damages.”

  Only damages specifically set forth in the statute are recoverable. More specifically, emotional

  damages are not available under the FLSA. See, Bolick v. Brevard County Sheriff's Dep't., 937

  F. Supp. 1560,1566 (M.D. Fla. 1996); Hybki v. Alexander & Alexander, Inc., 536 F.Supp. 483

  (W.D. Mo. 1982). Under Federal Rule of Evidence 402, all relevant evidence is admissible.


                                                                    -7-
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Case 1:14-cv-22349-AOR Document 34 Entered on FLSD Docket 02/13/2015 Page 8 of 13

                                                                                                  Case No. 1:14-cv-22349-UU

  Evidence is relevant if it has “any tendency to make the existence of any fact that is of

  consequence to the determination of the action more or less probable than it would be without

  the evidence.” Fed. R. Evid. 401. As the court in Bolick recognized, evidence concerning

  emotional damages is irrelevant in an action under the FLSA. Bolick, 937 F.Supp. at 1566. Thus,

  any evidence concerning Plaintiffs’ alleged emotional distress is inadmissible and should be

  excluded in its entirety.

         3.         Defendants’ Financial Data and any Statements Relating to the Defendants’

  Financial Wherewithal or Size:                   It is anticipated that Plaintiffs may offer evidence of, or

  comment upon, the Defendants’ financial condition, or characterize the Defendants’ size or

  financial worth. Evidence of the Defendants’ financial stature or size is not admissible for any

  purpose in this action, and would be offered only in an effort to prejudice the jury against the

  Defendants.

         Courts have made it clear that evidence of a defendant’s wealth or financial condition is

  irrelevant and immaterial to any facts at issue, thus preventing a party from making any such

  reference during trial. See Khan v. H & R Block Eastern Enterprises, Inc., 2011 WL 4715201, at

  * 2 (S.D. Fla., 2011). Any attempt by Plaintiffs to introduce such evidence would be designed to

  entice the jury to draw unfair inferences regarding the relative wealth of the litigants and render a

  verdict based upon their emotions, rather than the material facts in the case. Because such

  evidence will not assist the trier of fact in proving or disproving a material fact, it is irrelevant

  and should be excluded. See generally, Federal Rules Evidence 401, 402.

         Moreover, this Court has discretion to exclude such prejudicial evidence pursuant to Fed.

  R. Evid. 403. Plaintiffs’ only conceivable purpose in introducing evidence of the Defendants’


                                                                  -8-
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Case 1:14-cv-22349-AOR Document 34 Entered on FLSD Docket 02/13/2015 Page 9 of 13

                                                                                                 Case No. 1:14-cv-22349-UU

  financial standing would be to highlight the comparative wealth and resources of the parties for

  the purpose of evoking an emotional bias against the Defendants. Courts across the country have

  recognized the unfair prejudicial effect of comparing the relative wealth of the parties. Garcia v.

  Sam Tanksley Trucking, Inc., 708 F.2d 519, 522 (10th Cir. 1983) (finding that “reference to the

  wealth or poverty of either party, or reflection on financial disparity, is clearly improper

  argument” and that “[c]ounsel for plaintiffs clearly overstepped the bounds of proper argument

  by attempting to contrast [the defendant’s] wealth with plaintiffs’ poverty”); Draper v. Airco.

  Inc., 580 F.2d 91, 95 (3d Cir. 1978) (finding that “[a]ppealing to the sympathy of jurors through

  references to financial disparity is improper.”); Peters v. N. Trust Co., 2001 U.S. Dist. LEXIS

  13958, *3 (N.D. Ill. 2001) (granting motion in limine to exclude references to the plaintiff as

  “wealthy or a millionaire or other similar terms” because such labels could “unfairly prejudice

  [the plaintiff] in the eyes of the jury.”).

          Introduction of such evidence would do nothing except capitalize on the bias and

  prejudice of the jury. It is essential to avoid the risk that the jury’s decision will be improperly

  motivated by the “deep pocket,” or by any sentiment for a lone plaintiff doing battle against a

  large corporation or state agency funds, rather than by relevant, admissible evidence. See,

  Garcia, 708 F.2d at 522; Draper, 580 F.2d at 95. Plaintiffs should not be allowed to stress the

  comparative wealth of the parties and thereby divert the jury’s attention from the true issues in

  the case. The admission of evidence regarding Defendants’ financial status or size would create

  an atmosphere of bias and prejudice manifestly calculated to deprive the Defendants of a fair

  trial. Therefore, all such evidence should be excluded. See generally, Fed R. Evid. 403.




                                                                 -9-
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Case 1:14-cv-22349-AOR Document 34 Entered on FLSD Docket 02/13/2015 Page 10 of 13

                                                                                                   Case No. 1:14-cv-22349-UU

          4.         Opinions by Lay Witnesses: The Defendants anticipate that the Plaintiffs may

   attempt to introduce opinion evidence from lay witnesses regarding whether Defendants failed to

   compensate them for all hours worked in violation of 29 U.S.C. § 201 et. seq. The Plaintiffs may

   also attempt to introduce opinion evidence from lay witnesses that the Plaintiffs have sustained

   certain damages, or that Defendants’ alleged actions caused Plaintiffs’ alleged damages.

          Any such evidence is inadmissible opinion testimony from a lay witness on a legal issue

   and should be excluded. Opinion testimony of a lay witness is only permitted if it is based upon

   what the witness has personally perceived. Fed R. Evid. 701. The evidentiary statute governing

   opinion testimony from lay witnesses provides that:

          If a witness is not testifying as an expert, testimony in the form of an opinion is

          limited to one that is:

          (a)        rationally based on the witness's perception;

          (b)        helpful to clearly understanding the witness's testimony or to determining

                     a fact in issue; and

          (c)        not based on scientific, technical, or other specialized knowledge within

                     the scope of Rule 702.

   Fed. R. Evid. 701. The limited circumstances described in Federal Rule of Evidence 701 as

   justifying lay witness opinion testimony do not apply in this case. Any evidence elicited from

   lay witnesses regarding whether and what duties the Defendants allegedly owed to the Plaintiffs

   or breached is necessarily inadmissible opinion testimony under Federal Rule of Evidence 701

   because it is incapable of being personally perceived and requires special knowledge and skill

   which lay witnesses clearly lack. Under these or similar circumstances, courts have consistently


                                                                   - 10 -
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Case 1:14-cv-22349-AOR Document 34 Entered on FLSD Docket 02/13/2015 Page 11 of 13

                                                                                                   Case No. 1:14-cv-22349-UU

   excluded lay witnesses from offering opinion testimony. See Dijo, Inc. v. Hilton Hotels Corp.,

   351 F.3d 679,685 (5th Cir. 2003), (prohibiting lay opinion testimony of financial consultant for

   the plaintiff because his testimony “revealed that he had little significant actual knowledge about

   [plaintiff] and its operations”); Shelley v. White, 2010 WL 1904280, at * 1 (M.D. Ala., 2010)

   (prohibiting lay witness from testifying about plaintiff's violation of Westpoint's safety

   procedures as being the cause of the Plaintiff's fall is not admissible). Therefore, lay witnesses

   clearly lack the requisite skill and specialized knowledge to testify regarding legal issues.

           Accordingly, any opinion evidence elicited from lay witnesses regarding Defendants’

   alleged failure to compensate Plaintiffs for all hours worked in violation of 29 U.S.C. § 201 et.

   seq., is inadmissible and should be excluded.                          It is clear that the probative value of such

   testimony is substantially outweighed by the danger of unfair prejudice to the Defendants.

          5.         Pretrial Proceedings: It is anticipated that Plaintiff may attempt to introduce

   evidence of pretrial proceedings in this action, including but not limited to disputes relating to

   discovery, motions filed and resistances thereto, settlement offers, or pretrial rulings. However,

   courts have held that “pretrial conduct is generally irrelevant to the material issues of fact at trial

   and is thus inadmissible.” Infinite Energy, Inc., v. Econnergy Energy Company, Inc., 2010 WL

   5814366 (N.D. Florida. 2010). Moreover, under Florida law, the general rule is that "evidence

   related to the history of pre-trial discovery conduct should normally not be a matter submitted for

   the jury's consideration on the issues of liability."                           Eugene Strasser, M.D., P.A. v. Bose

   Yalamanchi, M.D., P.A., 783 So.2d 1087, 1093 (Fla. 4th DCA 2001) (citations omitted). Simply

   put, such pretrial proceedings have no tendency to prove or disprove any material facts in this




                                                                   - 11 -
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Case 1:14-cv-22349-AOR Document 34 Entered on FLSD Docket 02/13/2015 Page 12 of 13

                                                                                                    Case No. 1:14-cv-22349-UU

   action, and are therefore irrelevant, and should be excluded. Federal Rules of Evidence 401,

   402.

           Moreover, the admission of evidence of pretrial proceedings would inject needless

   evidence into the case, confuse the issues, and likely mislead the jury. This certain harm

   substantially outweighs any minimal probative value the evidence might have and should be

   excluded. See, Fed. R. Evid. 403.

           6.         Specific Irrelevant and Prejudicial Comments by Attorneys: In addition to the

   foregoing, Defendants requests that the Court enter an Order holding that the following types of

   comments and statements shall not be admissible for any purpose or at any phase at or during the

   trial, including:

           a)         Plaintiffs’ encouragement of the jury to “send a message” by its verdict to act as

           the community or to use its verdict to punish the Defendants. Eagle-Picher Industries,

           Inc. v. Cox, 481 So. 2d 517 (Fla. 3d DCA 1985); Florida Crushed Stone Co. v. Johnson,

           546 So. 2d 1102 (Fla. 5th DCA 1989); Brumage v. Plummer, 502 So. 2d 966 (Fla. 3d

           DCA 1987), rev. den. 513 So. 2d 1062 (Fla. 1987); and

           b)         References to the Plaintiffs’ religion, such as the Plaintiffs being “good

           Christians,” or “religious people,” or any other similar characterizations, the citation of

           bible passages, or any other religious references whatsoever, including attendance at

           religious services. Any such mention would be prejudicial to the Defendants and

           irrelevant.




                                                                    - 12 -
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Case 1:14-cv-22349-AOR Document 34 Entered on FLSD Docket 02/13/2015 Page 13 of 13

                                                                                                 Case No. 1:14-cv-22349-UU

          WHEREFORE, Defendants respectfully move this Court for an order prohibiting any

   documentary evidence, testimony (expert or otherwise), and argument of counsel concerning any

   of the above listed matters.

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                                                               By: /s/ Nicole Wall
                                                                   NICOLE WALL
                                                                   FBN: 017430
                                                                   Email: Nicole.Wall@csklegal.com

                                            CERTIFICATE OF SERVICE

           WE HEREBY CERTIFY that on this 13th day of February, 2015, we electronically filed
   the foregoing document with the Clerk of Court using CM/ECF. We also certify that the
   foregoing document is being served this day on all counsel of record or pro se parties identified
   on the Service List below in the manner specified, either via transmission of Notices of
   Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or
   parties who are not authorized to receive electronically Notices of Electronic Filing.

                                                               By: /s/Nicole Wall
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                                                                 - 13 -
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